             IN THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

     BRANDON M. WILBORN                    :
                   Plaintiff               :
                                           :
           v.                              :      Civil Action No. 18-3597
                                           :
     WILLIAM BARR, et al.                  :
                     Defendants            :


                                 ORDER

     In accordance with the Memorandum dated August 5, 2019, it is

hereby ORDERED that:

     1. Plaintiff’s Motion for Summary Judgment, as converted by the

        Court’s Order of March 5, 2019 (Doc. 19), is GRANTED.

     2. It is DECLARED that this Order is only in relation to emergency

        examinations and treatments pursuant to Pennsylvania Mental

        Health and Procedures Act (“MHPA”), Section 302 (50 P.S. §

        7302) and does not apply to an individual who was involuntarily

        treated pursuant to Pennsylvania MHPA Sections 303, 304 and 305

        (50 P.S. § 7303, 7304, 7305), as those statutory provisions are not

        before this Court.

     3. It is DECLARED that Section 302 of the MHPA fails to provide

        an evidentiary standard of proof for examining physicians to apply,


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  let alone the clear and convincing evidentiary standard of proof for

  civil commitments required by the U.S. Supreme Court in

  Addington v. Texas, 441 U.S. 418, 432-33 (1979).

4. It is DECLARED that an involuntary emergency examination and

  treatment, pursuant to the Pennsylvania MHPA, Section 302, fails

  to provide the individual with due process, as it fails to provide for

  (1) an attorney; (2) a right to confront witnesses; (3) an opportunity

  to offer witnesses; (4) an opportunity to challenge evidence; (5)

  any opportunity to submit evidence; (6) a hearing; (7) a neutral

  arbiter; (8) a verbatim transcript or full record of the commitment

  proceedings; or (9) a clear and convincing standard of proof.

5. It is DECLARED that an involuntary emergency examination and

  treatment, pursuant to Pennsylvania MHPA Section 302, is

  insufficient to result in a prohibition, pursuant to 18 U.S.C. §

  922(g)(4), as a Section 302 emergency examination and treatment

  neither constitutes an adjudication of mental defectiveness nor a

  commitment to a mental institution.

6. It is DECLARED that an involuntary emergency examination and

  treatment, pursuant to Pennsylvania MHPA Section 302, does not

  constitute a “determination by a court, board, commission, or other



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  lawful authority that a person, as a result of marked subnormal

  intelligence, or mental illness, incompetency, condition, or disease

  (1) Is a danger to himself or to others; or (2) Lacks the mental

  capacity to contract or manage his own affairs,” as required by 27

  C.F.R. § 478.11.

7. It is DECLARED that an involuntary emergency examination and

  treatment, pursuant to Pennsylvania MHPA Section 302, does not

  constitute a “formal commitment of a person to a mental institution

  by a court, board, commission, or other lawful authority,” as

  required by 27 C.F.R. § 478.11.

8. It is DECLARED that an involuntary emergency examination and

  treatment, pursuant to Pennsylvania MHPA Section 302, is based

  solely on a medical finding without a standard of proof and not

  after a hearing by a court, board, commission, or other authority

  and neither constitutes being adjudicated as a “mental defective

  nor “committed to a mental institution.”

9. It is DECLARED that Defendants are prohibited from including

  Pennsylvania MHPA Section 302 emergency examinations and

  treatments in the NICS database, as those involuntary evaluations

  and treatments do not meet the requirements of 18 U.S.C. §



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    922(g)(4) and 27 C.F.R. § 478.11.

10. It is DECLARED that Defendants are prohibited from including

    Pennsylvania MHPA Section 302 emergency examinations and

    treatments in the NICS database, as those involuntary evaluations

    and treatments fail to provide due process to the individual being

    evaluated and treated.

11. Defendants are ORDERED remove all Pennsylvania MHPA

    Section 302 emergency examinations and treatments from the

    NICS database, as those involuntary evaluations and treatments

    neither meet the requirements of 18 U.S.C. § 922(g)(4) and 27

    C.F.R. § 478.11 nor the requirements of due process.

12. It is DECLARED that Plaintiff is not prohibited pursuant to 18

    U.S.C. § 922(g)(4) or 27 C.F.R. § 478.11 as a result of his 302

    emergency treatment and evaluation on or about April 7, 2003.

13. Defendants are ORDERED remove Plaintiff’s Section 302

    emergency treatment and evaluation on or about April 7, 2013

    from the NICS database, as that involuntary evaluation and

    treatment neither meets the requirements of 18 U.S.C. § 922(g)(4)

    and 27 C.F.R. § 478.11 nor the requirements of due process.

14. It is ORDERED that Defendants, their officers, agents, servants,



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    employees, and all persons in active concert or participation with

    them are ENJOINED from enforcing 18 U.S.C. § 922(g)(4)

    against an individual, exclusively on the basis that he/she has been

    involuntarily treated and evaluated pursuant to Pennsylvania

    MHPA Section 302.

15. It is ORDERED that Defendants, their officers, agents, servants,

    employees, and all persons in active concert or participation with

    them are ENJOINED from enforcing 18 U.S.C. § 922(g)(4)

    against Plaintiff in relation to his 302 emergency treatment and

    evaluation on or about April 7, 2003.

16. The requirement of Plaintiff to file a request for attorney fees and

    costs shall be stayed until 90 days after the later of the following

    occurs: (1) the decision of the parties on whether to appeal the

    Court’s final judgment of Plaintiff’s claims or (2) in the event of an

    appeal, a final decision on the appeal is reached and the

    appropriate mandate has issued. Following the expiration of this

    90-day period, Plaintiff shall have 45 days within which to submit

    a request for attorney fees and costs with respect to his claims in

    the event that the parties are unable to reach a settlement regarding

    all issues related to attorney fees and costs. In that event, the



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parties preserve all issues related to attorney fees and costs so that

they may be presented to the Court for adjudication.



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                                     Jeffrey L. Schmehl, J.




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